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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

Original Plan

 

 

[m] 2nd
LJ

Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)

 

DEBTOR: Cecilia Diaz

SS#: xxx-xx- 2179
L NOTICES

To Debtors:

To Creditors:

To All Parties:

JOINT DEBTOR: Lazaro Diaz CASE NO.: 18-23422

SS#: xxx-xx-0718

Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13,

Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one

 

box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

The valuation of a secured claim, set out in Section IIT, which may result in a .
partial payment or no payment at all to the secured creditor : L] Included (a) Not included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set (Included [M] Not included
out In Section III

Nonstandard provisions, set out in Section VIII ["} Included (@] Not included

 

PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

 

 

 

 

 

Il.

A, MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $2,703.48 for months 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [] PRO BONO
Total Fees: $1500.00 Total Paid: $1500.00 Balance Due: $0.00
Payable $0.00 /month (Months 9 to 0 )
Allowed fees under LR 2016-1(B)(2) are itemized below:
$1,500 Chapter 13 Case,
Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
II. TREATMENT OF SECURED CLAIMS

 

A. SECURED CLAIMS: [_] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

I. Creditor: Pennymac Loan Services

 

 

Last 4 Digits of

Account No.: 3255

Other:

 

Address: 6101 Condor Dr Arrearage/ Payoff on Petition Date $29,043.20
ia 4
Moorpark, CA 93021 Arrears Payment (Cure) $484.05 /fmonth (Months [I to 60 )
Regular Payment (Maintain) $1,804.60 ‘month (Months | to 60 )

 

 

 

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Debtor(s): Cecilia Diaz, Lazaro Diaz Case number: 18-23422
—
[im] Real Property Check one below for Real Property:
[m[Principal Residence {m]Escrow is included in the regular payments
[_]Other Real Property [|The debtor(s) will pay [ ]taxes [_Jinsurance directly

Address of Collateral:
691 E 35 St
Hialeah, FL 33013

[_] Personal Property/Vehicle

Description of Collateral:

 

 

 

B. VALUATION OF COLLATERAL: [B] NONE
C. LIEN AVOIDANCE [ii] NONE
D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

distribution fom the Chapter 13 Trustee.
[] NONE

[@] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)

request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
personam as to any codebtor(s) as to these creditors.

 

 

 

 

[_] Other:
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
5 Isle of Bali IT Condo HOA N/A Timeshare
5 Diamond Resorts 2966 Timeshare
. Equiant Financial Svcs 5837 Timeshare

 

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution

fom the Chapter 13 Trustee.
[] NONE
{@] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon

confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)! state law contract rights.

Name of Creditor Last 4 Digits of Account No, Description of Collateral (Address, Vehicle, etc.)
' Space Coast Credit Uni 7522 2015 Chevrolet Silverado

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

 

 

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [im] NONE
B. INTERNAL REVENUE SERVICE: [i] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [lm] NONE
D. OTHER: [@] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $144.48 /month (Months | to 60 )

Pay /month (Months to)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [ii] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

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Debtor(s); Cecilia Diaz, Lazaro Diaz Case number: 18-23422

VIL EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

{ml} NONE
VII. | INCOME TAX RETURNS AND REFUNDS: [] NONE

(B] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

 

VIN. NON-STANDARD PLAN PROVISIONS [mg] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Cecilia Diaz Debtor 1/28/2019 Lazaro Diaz Joint Debtor 12/19/2018
Cecilia Diaz Date Lazaro Diaz Date
/s/ Ricardo Corona, Esq. 1/28/2019

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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